         Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 1 of 33



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     THOMAS E. PEREZ, SECRETARY OF               )
     LABOR, UNITED STATES DEPARTMENT             )
     OF LABOR,                                   )
                                                 )
                       Plaintiff,                )
                                                 )       Civil Action No. 14-1494
                v.                               )
                                                 )
     WPN CORPORATION, RONALD LABOW;              )
     SEVERSTAL WHEELING, INC.                    )
     RETIREMENT COMMITTEE; MICHAEL
                                                 )
     DICLEMENTE; DENNIS HALPIN;
                                                 )
     WHEELING CORRUGATING COMPANY
                                                 )
     RETIREMENT SECURITY PLAN; AND)
     SALARIED EMPLOYEES’ PENSION                 )
     PLAN OF SEVERSTAL WHEELING, INC.,           )

                       Defendants.


                                     Memorandum Opinion



I.     Introduction

         The Secretary of Labor of the United States Department of Labor (“DOL”) brings this

action under the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001, et seq.

(“ERISA”) alleging that the fiduciaries and investment managers of two related pension plans

violated ERISA causing a loss of the pension plans’ value of approximately $7,000,000.00.

Defendant fiduciary body, the Severstal Wheeling, Inc. Retirement Committee (the “Retirement

Committee”) and its two individual members, Michael DiClemente (“DiClemente”) and Dennis

Halpin (“Halpin”) appointed Ronald Labow (“Labow”) and WPN Corporation (“WPN”) to

manage the assets of the two pension plans, the Wheeling Corrugating Company Retirement

Security Plan and the Salaried Employees’ Pension Plan of Severstal Wheeling, Inc. (“the
          Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 2 of 33




 Plans”).1 In its Amended Complaint the DOL alleges that Labow, the sole officer and principal

 owner of WPN, and WPN are directly responsible under ERISA for the loss in value of the

 Plans’ assets from approximately December 5, 2008 through May 19, 2009. The DOL alleges

 that Retirement Committee, DiClemente, and Halpin (collectively, “Defendants”) are liable

 under ERISA for failing to invest the Plans’ assets from November 3, 2008 to December, 5,

 2008; for failing to monitor Labow and WPN’s conduct from December 5, 2008 to May 19,

 2009; and for co-fiduciary liability for Labow and WPN’s violations.

      Presently before the Court is Defendants’ Motion to Dismiss and, in the alternative, Motion

 for Summary Judgment. (Docket No. 124). The DOL has filed a Response to the Motion

 (Docket No. 130) and Defendants have filed a Reply (Docket No. 134). The Court heard oral

 argument on the Motion on February 7, 2017 (Docket No. 135), after which both parties filed

 Supplement Briefs (Docket Nos. 139 and 140). After careful consideration of the parties’

 positions, and for the following reasons, Defendants’ Motion to Dismiss is granted, in part and

 denied in part. Defendants’ alternative Motion for Summary Judgment is denied.

II.   Procedural History and Factual Background

      A. Procedural History

         The DOL filed a Complaint in this Court on October 14, 2014. (Docket No. 1). An

 Amended Complaint was filed on March 27, 2015. (Docket No. 28). On April 10, 2015, the

 Court issued a Consent Order on Stay granting the Retirement Committee, DiClemente, and

 Halpin’s unopposed Motion for Stay of Proceedings. (Docket No. 37). The Stay was requested


 1
    By Order dated September 20, 2016, the pension plan Defendants, Wheeling Corrugating Company Retirement
 Security Plan and the Salaried Employees’ Pension Plan of Severstal Wheeling, Inc. were denominated as nominal
 parties that were not required to respond to the Amended Complaint or otherwise actively participate in this
 litigation. (Docket No. 112).
                                                       2
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 3 of 33




to await the issuance of a decision on the merits in a lawsuit filed by the Retirement Committee

and its members (and the Plans) against Labow and WPN in the United States District Court for

the Southern District of New York. (Docket No. 37, at ¶ 1; Severstal Wheeling, Inc. v. WPN

Corp., No. 1:10-cv-954). Following a bench trial, District Judge Laura Taylor Swain issued a

decision dated August 10, 2015, finding that WPN and Labow breached their fiduciary duties

under ERISA and entered judgment for approximately $15,000,000.00. Severstal Wheeling, Inc.

Ret. Comm. v. WPN Corp., 119 F. Supp. 3d 240, 242 (S.D.N.Y. 2015). The decision was

affirmed by the United States Court of Appeals for the Second Circuit on August 30, 2016.

Severstal Wheeling, Inc. v. WPN Corp., 659 F. App'x 24 (2d Cir. 2016). The Stay in this Court

was lifted on the same day. (Docket No. 97). Defendants’ Motion to Dismiss and, in the

alternative, Motion for Summary Judgment was filed on October 31, 2016. (Docket No. 124).

    B. Factual Background

       From approximately June 2008 to approximately May 2009, the Plans’ sponsor was

Severstal Wheeling, Inc., which is no longer in business. (Am. Compl. ¶ 12, Docket No. 28).

The Plans were established to provide retirement benefits to employees. Pursuant to the Plans’

documents, Severstal Wheeling, Inc. Retirement Committee is the Plan Administrator and a

Named Fiduciary for each of the Plans. (Am. Compl. ¶ 8). DiClemente was a member of the

Retirement Committee from June, 2008, through February 2009, and is a Named Fiduciary

pursuant to the Plans’ documents. (Am. Compl. ¶ 9). Halpin was a member of the Retirement

Committee from June, 2008, through April, 2009, and is a Named Fiduciary pursuant to the

Plans’ documents. (Am. Compl. ¶ 10).




                                               3
         Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 4 of 33




        The Plans’ assets were part of a large trust, the WHX Trust, holding the assets of several

pension plans managed by Labow and WPN. (Am. Compl. ¶ 14). The Trustee of the WHX

Trust was Citibank, N.A. (Am. Compl. ¶ 15). In June, 2008, Citibank announced that it was

discontinuing its trust services by the end of 2008. (Am. Compl. ¶ 15.) As a result, the Plans’

assets were to be separated from the unrelated pension plan assets held in the WHX Trust and

deposited into a new standalone trust holding only the Plans’ assets. (Am. Compl. ¶ 16.) The

new standalone trust was “subsequently renamed” the Severstal Wheeling, Inc. Pension Plan

Master Trust (“Severstal Trust”). (Am. Compl. ¶ 16.) National City Bank became the Trustee of

the Severstal Trust on December 31, 2008.2 (Am. Compl. ¶ 15).

        The allegations supporting the DOL’s claims that Defendants violated ERISA fall into

two definable time periods. The first period begins on November 3, 2008, with the transfer of

the Plans’ Assets from the WHX Trust to a standalone trust, and ends on December 5, 2008,

when a written investment management agreement was entered into between the Retirement

Committee and Labow and WPN.

        The majority of the Plans’ assets (valued at approximately $31,446,845) were held in an

undiversified account with Neuberger Berman, LLC. (Am. Compl. ¶¶ 19, 21). The Neuberger

Berman account had approximately 97% of its value invested in eleven large cap energy stocks,

and remained in this undiversified state during the period from November 3, 2008 through

December 5, 2008. (Am. Compl. ¶¶ 21, 22).



2
   National City Bank did not become Trustee of the Severstal Trust until December 31, 2008, which is consistent
with Citibank’s announcement that it was discontinuing its trust services by the end of 2008. However, there is no
allegation in the Amended Complaint that Citibank ever acted as Trustee for the newly formed Severstal Trust at
any time since its formation. Thus, it appears that there was no trustee of the Plans’ assets from November 3, 2008
to December 30, 2008.
                                                        4
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 5 of 33




       The Neuberger Berman account holding the Plans’ assets was transferred from the WHX

Trust to the Severstal Trust on November 3, 2008. (Am. Compl. 19). On November 4, 2008,

DiClemente confirmed the transfer of the Neuberger Berman account to the Severstal Trust by

letter dated November 3, 2008. (Am. Compl. ¶ 20).

       There was no written investment management agreement from November 3, 2008, until

December 5, 2008. (Am. Compl. ¶ 22). On December 5, 2008, DiClemente, on behalf of the

Retirement Committee, signed an investment management agreement with Labow and WPN,

titled the Third Amendment to the Severstal Wheeling, Inc. Investment Management Agreement.

(Am. Compl. ¶ 23). Although the investment management agreement signed on December 5,

2008, was backdated to be effective November 1, 2008 (Am. Compl. ¶ 23), the DOL alleges that

Labow and WPN’s investment manager fiduciary duties became effective on December 5, 2008.

In the DOL’s first claim it is alleged that from November 3, 2008 through December 5, 2008,

Defendants failed to discharge their fiduciary duties solely in the interest of the participants and

beneficiaries by failing to prudently invest the Plans’ assets when no investment management

agreement was in place in violation of ERISA sections 404(a)(1)(A) and 404(a)(1)(B); 29 U.S.C.

§§ 1104(a)(1)(A) & 1104(a)(1)(B). (Am. Compl. ¶ 35).

       The second time period begins when the Retirement Committee entered into the

investment management agreement with Labow and WPN on December 5, 2008, and ends when

Labow and WPN are terminated on May 19, 2009. (Am. Compl. ¶¶ 23, 28). The Plans’ assets

remained in the undiversified Neuberger Berman account from December 5, 2008 through

December 30, 2008. (Am. Compl. ¶ 24). On December 30, 2008, the Retirement Committee,

DiClemente, and Halpin first learned that the Plans’ assets were in the undiversified Neuberger


                                                 5
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 6 of 33




Berman account and DiClemente informed Labow and WPN of the discovery. (Am. Compl. ¶

25).

       The Plans’ assets remained in the undiversified Neuberger Berman account while

Defendants communicated with Labow and WPN, from December 30, 2008 through March 24,

2009. (Am. Compl. ¶ 26). On March 24, 2009, the Plans assets in the Neuberger Berman

account were sold for cash. (Am. Compl. ¶ 27).

       The Plans’ assets remained in cash from March 24, 2009 through May 19, 2009, during

which time the Retirement Committee and Halpin communicated with Labow and WPN. (Am.

Compl. ¶ 29). On May 19, 2009, the investment management agreement was terminated and

Labow and WPN were fired. (Am. Compl. ¶¶ 6, 28).

       From November 3, 2008 through May 19, 2009, the Plans suffered losses and lost

earnings of approximately $7,000,000.00. (Am. Compl. ¶ 32). The DOL’s second claim alleges

that Defendants failed to discharge their fiduciary duties solely in the interest of the participants

and beneficiaries by failing to monitor Labow and WPN from December 5, 2008 through May

19, 2009, while they acted as investment manager for the Plans in violation of ERISA sections

404(a)(1)(A) and 404(a)(1)(B); 29 U.S.C. §§ 1104(a)(1)(A) & 1104(a)(1)(B). (Am. Compl. ¶

35).

       Finally, the DOL alleges in its third claim that Defendants are subject to co-fiduciary

liability because they enabled Labow and WPN to commit a breach of ERISA section 404(a)(1),

and knew of Labow and WPN’s breach and failed to make reasonable efforts to remedy the

breach, all in violation of ERISA sections 405(a)(2) and 405(a)(3); 29 U.S.C. §§ 1105(a)(2) &

1105(a)(3). (Am. Compl. ¶ 36).


                                                 6
          Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 7 of 33




       Defendants seek dismissal of the DOL’s claims for failure to state a claim upon which relief

  can be granted under Federal Rule of Civil Procedure 12(b)(6). In the alternative, Defendants

  request the Court convert the motion to dismiss into a motion for summary judgment relying

  primarily on the fact finding developed in the related proceeding in the United States District

  Court for the Southern District of New York, as well as an Affidavit prepared by DiClemente.

  The DOL was not a party in Severstal Wheeling, Inc. v. WPN Corp., No. 1:10-cv-954, nor were

  Defendants. Although the District Court for the Southern District of New York found Labow

  liable for fiduciary breaches, the decision in that case cannot be read to absolve Defendants from

  liability. Finally, the Court agrees with the DOL that the opportunity to obtain discovery is

  required before the motion is converted to a motion for summary judgment. Accordingly, the

  Court declines to convert the motion to dismiss to a motion for summary judgment.

III.   Standard of Review

         When reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure

  12(b)(6), the court must “accept all factual allegations as true, construe the complaint in the light

  most favorable to the plaintiff, and determine whether, under any reasonable reading of the

  complaint, the plaintiff may be entitled to relief.” Eid v. Thompson, 740 F.3d 118, 122 (3d

  Cir.2014) (quoting Phillips v. Cnty of Allegheny, 515 F.3d 224, 233 (3d Cir.2008)). A pleading

  party need not establish the elements of a prima facie case at this stage; the party must only “put

  forth allegations that ‘raise a reasonable expectation that discovery will reveal evidence of the

  necessary element[s].”’ Fowler v. UPMC Shadyside, 578 F.3d 203, 213 (3d Cir.2009) (quoting

  Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL 2312671 (W.D.Pa. June 4, 2008)); see

  also Connelly v. Lane Const. Corp., 809 F.3d 780, 790 (3d Cir.2016) (“Although a reviewing


                                                   7
         Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 8 of 33




 court now affirmatively disregards a pleading’s legal conclusions, it must still . . . assume all

 remaining factual allegations to be true, construe those truths in the light most favorable to the

 plaintiff, and then draw all reasonable inferences from them.”) (citing Foglia v. Renal Ventures

 Mgmt., LLC, 754 F.3d 153, 154 n. 1 (3d Cir.2014)).

        Nonetheless, a court need not credit bald assertions, unwarranted inferences, or legal

 conclusions cast in the form of factual averments. Morse v. Lower Merion School District, 132

 F.3d 902, 906, n. 8 (3d Cir.1997). The primary question in deciding a motion to dismiss is not

 whether the Plaintiff will ultimately prevail, but rather whether he or she is entitled to offer

 evidence to establish the facts alleged in the complaint. Maio v. Aetna, 221 F.3d 472, 482 (3d

 Cir.2000). The purpose of a motion to dismiss is to “streamline [ ] litigation by dispensing with

 needless discovery and factfinding.” Neitzke v. Williams, 490 U.S. 319, 326–327, 109 S.Ct.

 1827, 104 L.Ed.2d 338 (1989).

IV.   Discussion

        Defendants first argue that the DOL fails to state claims upon which relief can be granted

 for failure to invest or co-fiduciary liability because once Defendants appointed investment

 managers they are entitled to the protection of the safe harbor provision of ERISA section

 405(d)(1), 29 U.S.C. § 1105(d)(1). Defendants also argue that the DOL has failed to state a

 claim upon which relief can be granted that Defendants breached their duty to monitor the

 investment managers. Defendants argue that they complied with their duty to monitor and that

 the DOL’s claim is an improper attempt to impute the investment managers’ conduct to

 Defendants.




                                                 8
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 9 of 33




       As discussed below, the Court agrees that once Defendants appointed investment

managers they are entitled to the safe harbor protection. The Court also finds that the DOL has

properly stated a claim for failure to monitor. In addition, because the Court finds that the

investment management agreement is effective as of November 1, 2008, the Court will permit

the DOL to amend its Amended Complaint to conform to the ruling.

       A. Failure to Invest and Co-fiduciary Claims

       Defendants argue that the DOL’s failure to invest and co-fiduciary liability claims should

be dismissed because Defendants are protected by the safe harbor provision of ERISA section

405(d)(1), 29 U.S.C. § 1105(d)(1). This sections states:

       (d) Investment managers
       (1) If an investment manager or managers have been appointed under section
       1102(c)(3) of this title, then, notwithstanding subsections (a)(2) and (3) and
       subsection (b) of this section, no trustee shall be liable for the acts or omissions of
       such investment manager or managers, or be under an obligation to invest or
       otherwise manage any asset of the plan which is subject to the management of
       such investment manager.

29 U.S.C.A. § 1105(d)(1). Defendants argue that because they appointed an investment manager

effective November 1, 2008, the safe harbor provision explicitly relieves them from liability for

the acts or omissions of Labow and WPN, and from any obligation to invest assets.

Accordingly, Defendants assert that both the failure to invest claim and co-fiduciary liability

claim must be dismissed.

       Implicit in the DOL’s argument is (i) that Labow and WPN were acting as the appointed

investment managers as of the November 1, 2008 backdated investment agreement, and (ii) that

Defendants fall within the meaning of the term “trustee” in section 1105(d)(1). The Court

addresses these arguments in turn.


                                                 9
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 10 of 33




               1. Effective Date of Appointment of Investment Manager

       If Defendants are correct that the appointment of the investment managers was effective

as of November 1, 2008, then Defendants would not have had a duty to invest the Plans’ assets

from November 3, 2008 to December 5, 2008. Conceivably Defendants would be exposed to co-

fiduciary liability for this time period, however Defendants’ argument is that the safe harbor

provision would relieve them from co-fiduciary liability for this time period as well.          If,

however, the effective date is December 5, 2008, then the failure to invest claim would survive

the motion to dismiss. This is true because if the investment managers were not properly

appointed during the relevant time period Defendants would retain control of the assets of the

plan with corresponding fiduciary duties.

       Defendants argue that basic contract law allows parties the freedom to impose whatever

obligations they wish and that includes the ability to backdate the effective date of an agreement.

Defendants rely on an opinion from the United States Court of Appeals for the Third Circuit

approving insurance agreements that are not legally operative until the first premium is paid, and

affirming that the effective date of the agreement is essentially backdated once the first premium

is paid. Wise v. Am. Gen. Life Ins. Co., 459 F.3d 443 (3d Cir. 2006). In Wise, the Court of

Appeals reviewed several Pennsylvania cases before concluding that in Pennsylvania “backdated

contracts are not inherently unfair and should be enforced according to their explicit terms.”

Wise, 459 F.3d at 449 (citing Ford v. Fidelity Mutual Life Insurance Company, 314 Pa. 54, 170

A. 270 (1934)).




                                                10
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 11 of 33




       Defendants also point to the course of conduct between the parties in this case;

highlighting that Labow and WPN had been investment managers of the Plans’ assets prior to the

transfer to the Severstal Trust and remained as investment managers after the transfer. Thus,

Defendants argue that the agreement entered into on December 5, 2008, was in effect an

amendment to the ongoing investment management agreement between the parties; or, in other

words, a memorialization of what had been occurring in fact since November 1, 2008.

       The DOL acknowledges that backdated contracts are not inherently unlawful, and

therefore, on its face the written investment agreement’s effective date is November 1, 2008.

However, the DOL argues that ERISA Section 3(38), defining the term “investment manager,”

requires that the investment manager “has acknowledged in writing that he is a fiduciary with

respect to the plan.” 29 U.S.C.A. § 1002(38). In addition, Defendants are prohibited under

ERISA section 410(a) from entering into an agreement with the intent to absolve Defendants

from liability for breaching their fiduciary duties. Section 1110(a) states in relevant part that

“any provision in an agreement or instrument which purports to relieve a fiduciary from

responsibility or liability for any responsibility, obligation, or duty under this part shall be void

as against public policy.” 29 U.S.C. § 1110(a).

       The difficulty for the DOL is that it does not affirmatively allege in the Amended

Complaint (i) that Labow and WPN were not acting as investment managers from November 1,

2008 through December 5, 2008, and (ii) that Defendants’ intent in backdating the agreement

was to relieve itself “from responsibility or liability for any responsibility, obligation, or duty” it

had to invest the Plans’ assets during that time period. 29 U.S.C. § 1110(a). At best, the DOL

alleges that the “Plans did not have a written investment management agreement from on or


                                                  11
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 12 of 33




about November 3, 2008 until December 5, 2008.” (Am. Compl. ¶ 22). The written agreement

on its face states that the effective date is November 1, 2008, and absent factual allegations to the

contrary the Court agrees that November 1, 2008 is the effective date.

        Accordingly, the Court will dismiss the DOL’s failure to invest claim and will grant the

DOL’s request to amend its Amended Complaint in order to allege that Defendants are liable for

failing to monitor the investment managers from November 3, 2008 to December 5, 2008; and to

extend the time frame of the claims of fiduciary breaches against Labow and WPN back to

November 3, 2008, when they were acting as investment managers pursuant to the written

investment agreement.

        In the alternative, the Court notes that this ruling leaves open the possibility of a claim

alleging that Labow and WPN were not acting as investment managers from November 3, 2008

to December 5, 2008, that the purpose of backdating the investment agreement was to relieve

Defendants from liability during a time when they in fact retained control of the assets of the

plans, and that Defendants violated ERISA by failing to invest properly the Plans’ assets. The

DOL has not specifically indicated in its pleadings or during oral argument that it intends to

assert such a claim in the alternative, but the Court cannot discount the possibility that the DOL

may choose to assert such a claim. Of course for such a claim to succeed it must eventually be

supported by factual evidence establishing that Labow and WPN were not acting as investment

managers, and that Defendants backdated the agreement to relieve itself from liability for its

failure to invest the Plans’ assets.




                                                 12
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 13 of 33




               2. “Trustee” Under Section 29 U.S.C. § 1105(d)(1)

       It is undisputed that Defendants appointed investment managers with the authority to

manage, invest, and dispose of the Plans’ assets. Section 1105(d)(1) provides in part that “[i]f

an investment manager or managers have been appointed . . . then . . . no trustee shall be liable

for the acts or omissions of such investment manager or managers.” 29 U.S.C. § 1105(d)(1).

Defendants argue that the term “trustee” in the statute includes a named fiduciary with the power

to appoint an investment manager even if they are not a named trustee under ERISA, and

therefore they cannot be held liable as a co-fiduciary for the fiduciary breaches of Labow and

WPN.

       Defendants argue that a reasonable reading of the statute leads to the conclusion that a

fiduciary’s appointment of an investment manager would trigger the safe harbor provision of

Section 405(d)(1) for the benefit of the fiduciary who took the action of appointing an

investment manager regardless of whether the fiduciary is named as a trustee. In other words,

where the underlying conduct invoking Section 1105(d)(1) is properly performed by a named

fiduciary who is not a named trustee, Defendants argue that the terms “named fiduciary” and

“trustee” are interchangeable.

       The DOL’s sole argument in response is that the plain language of section 1105(d)(1)

provides protection only for “trustees” and since none of the Defendants are trustees they are

unable to avail themselves of the safe harbor provision. See Am. Compl. ¶ 8 (Retirement

Committee is Named Fiduciary and Plan Administrator, not a trustee); and Am. Compl. ¶¶ 9, 10

(DiClemente and Halpin are named Fiduciaries, not Trustees). Citibank was the Trustee of the

Severstal Trust when the Neuberger Berman account was transferred from the WHX Trust on


                                               13
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 14 of 33




November 3, 2008, and National City Bank became the Trustee on December 31, 2008. (Am.

Compl. ¶ 15). There was apparently no trustee from November 3, 2008 through December 30,

2008. See footnote 2, supra.

       The Court concludes that ERISA intended named fiduciaries (i) who have been granted

control of the assets of a plan and (ii) who have properly appointed an investment manager to

manage the assets of a plan, are protected by the safe harbor provision of Section 1105(d)(1),

even though the named fiduciaries are not designated as “trustees.” First, the logical reading of

the interplay of the relevant statutes leads to this conclusion.   Second, there is scant case law

addressing this issue but the cases that do discuss it also favor this conclusion. In contrast, the

Court has found no case that prohibited a named fiduciary from the benefits of the safe harbor

provision based solely on the named fiduciary not being a “trustee.” Finally, legislative history

addressing this issue supports the Court’s conclusion.

               a. Relevant Statutes

       The safe harbor provision of section 1105(d)(1) only comes into play when control over

the assets of a plan has been appointed to an investment manager. Therefore, the safe harbor

provision must be read in context with the related statutory sections defining who has control

over the assets of a plan, sections 1103(a) and 1102(c)(3), and who has authority to transfer

control over the assets of a plan to an investment manager, section 1102(c)(3)).

       Relevant to the issue in this case, the statutory sections allow for control over the assets

of the plan to be with a trustee, a named fiduciary, or an investment manager. In the first

instance, section 1103(a) provides that assets of an employee benefit plan are to be held in trust

by a trustee who “shall have exclusive authority and discretion to manage and control the assets


                                                14
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 15 of 33




of the plan.” 29 U.S.C. § 1103(a). Section 1102(c)(3), however, allows for the possibility that

“a person who is a named fiduciary” will have “control or management of the assets of the plan.”

29 U.S.C. § 1102(c)(3).      Section 1102(c)(3) also provides the authority for the investment

manager to gain control over the assets of a plan; namely, when the person who has control over

the assets of a plan, “a named fiduciary”, appoints an investment manager.            29 U.S.C. §

1102(c)(3). Similarly section 1103(a)(2) refers to the appointment power of section 1102(c)(3)

by which a trustee’s “exclusive authority” over the control of the assets of a plan is “delegated”

to an investment manager. 29 U.S.C. § 1103(a)(2).

       Sections 1103(a), 1102(c)(3), and 1105(d)(1) all contemplate that control over the assets

of the plan may be either delegated or appointed to an investment manager. Section 1105(d)(1)

provides a safe harbor for the “trustee” if in fact control over the assets of the plan has been

appointed to an investment manager under section 1102(c)(3). Section 1103(a)(2) provides that

the trustee’s control is exclusive except when control is delegated to an investment manager

under section 1102(c)(3). Section 1102(c)(3), as noted, is the mechanism for the delegation of

authority over control of the assets of the plan to an investment manager.            29 U.S.C. §

1102(c)(3).

       A fiduciary is defined in ERISA “‘not in terms of formal trusteeship, but in functional

terms of control and authority over the plan.’” Sec'y U.S. Dep't of Labor v. Koresko, 646 F.

App'x 230, 235 (3d Cir. 2016) (quoting Mertens v. Hewitt Assocs., 508 U.S. 248, 262 (1993)),

citing 29 U.S.C. § 1002(21)(A)(i) (“a person is a fiduciary with respect to a plan to the extent (i)

he exercises any discretionary authority or discretionary control respecting management of such

plan or exercises any authority or control respecting management or disposition of its assets”).


                                                15
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 16 of 33




Here, as discussed above, control over the assets of the plan is with a trustee, a named fiduciary,

or an investment manager, all of which are fiduciaries. A logical conclusion to draw from the

interplay of the above ERISA statutory sections is that when control over the assets of a plan has

been delegated to an investment manager appointed by a named fiduciary, then whoever had

control over the assets of the plan prior to the appointment of the investment manager, no longer

has such control after the appointment. This conclusion must be true whether it was the trustee’s

exclusive control or whether a named fiduciary had control over the assets of the plan.

Significantly, the only way an investment manager can acquire control is if “a person who is a

named fiduciary” appoints the investment manager.           Therefore, it follows that once the

appointment of an investment manager is made by a “named fiduciary” under section 1102(c)(3),

that the person who had control over the assets of the plan -- trustee or named fiduciary --

obtains the benefit of the safe harbor provision of section 1105(d)(1). There is no logical support

for concluding that the person with control over the assets of the plan who properly appoints an

investment manager would not be permitted the benefits of the safe harbor provision.

         b. Case Law

        Defendants cite two cases in support of their position. The United States Court of

Appeals for the Second Circuit briefly addressed the safe harbor provision’s applicability to a

fiduciary stating in relevant part:

        The obligations of named fiduciaries with regard to their duty of care, however,
        can be reduced by the appointment of an investment manager under ERISA
        Section 402(c)(3). Under Section 405(d)(1), once such an appointment has been
        made, the trustees cannot be held liable for any act or omission of that investment
        manager so far as the assets entrusted to the manager are concerned. The plain
        intent of this statutory structure is to allow plan trustees to delegate investment
        authority to a professional advisor who then becomes a fiduciary with a duty of
        care and duty of loyalty to the plan while the trustees' legal responsibilities

                                                16
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 17 of 33




       regarding the wisdom of investments are correspondingly reduced.

Lowen v. Tower Asset Mgmt., Inc., 829 F.2d 1209, 1219 (2d Cir. 1987) (emphasis added). As

can be seen, the Court used the terms “named fiduciary” and “trustee” interchangeably.

       In Lowen, the Court discussed the safe harbor provision in the context of addressing the

question of whether defendant Tower Asset was a fiduciary under ERISA. Lowen, 829 F.2d at

1218. Tower Asset was appointed by the Trustees as the investment manager for the subject

plan pursuant to an investment management agreement of the plan. Lowen, 829 F.2d at 1212.

The Court described the “core issue in dispute” as arising from the claim that Tower Asset

cannot be regarded as a fiduciary because the Trustees of the plan “compelled Tower Asset to

make many, or all,” of the prohibited investments. Lowen, 829 F.2d at 1218. The Court held

that it was “simply beyond doubt” that Tower Asset was an ERISA fiduciary, noting that the

plan’s “named fiduciary,” the Trustees, were authorized to appoint an “investment manager”

under Section 402(c)(3).

       Because there was an actual named trustee in this case who appointed Tower Asset as the

investment manager, the Lowen Court did not directly address the question of whether a named

fiduciary who was not a trustee is protected by the safe harbor provision. However, the Lowen

Court’s preliminary discussion regarding ERISA’s structure and purposes is persuasive support

that named fiduciaries are meant to be protected by the safe harbor provision. The Court of

Appeals noted that ERISA requires that “every plan designate a ‘named fiduciary’ with power

‘to control and manage’ the plan.” Lowen, 829 F.2d at 1218. The requirement of a “named

fiduciary” with control over the assets of a plan focuses responsibility and liability for

mismanagement with “’a degree of certainty.’”      Id. (quoting Birmingham v. Sogen-Swiss Int’l


                                              17
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 18 of 33




Corp. Retirement Plan, 718 F.2d 515, 522 (2d Cir. 1983). As is shown by the above discussion

on the interplay of the relevant statues, the Court agrees that determining the party with control

over the assets of a plan is crucial to identifying legal responsibility under ERISA. From these

premises the Lowen Court concluded that a named fiduciary is able to benefit from the safe

harbor provision.

        Defendants also rely on a District Court case from the United States District Court for the

Northern District of Illinois. In Harris Trust & Sav. Bank v. Salomon Bros., 832 F. Supp. 1169,

1177–78 (N.D. Ill. 1993), Harris Trust and Savings Bank, as Trustee for the Ameritech Pension

Trust, Ameritech Corporation, and an individual sued Salomon Brothers Inc. and Salomon

Brothers Realty Corporation (collectively “Salomon”) alleging, inter alia, violations of ERISA.

Plaintiffs brought suit based on several of Salomon’s investments alleged to have been based on

inaccuracies and misrepresentations. The District Court had issued a prior opinion finding that

plaintiffs had sufficiently alleged that Salomon was an ERISA investment advisor fiduciary. 3

Harris Trust & Sav. Bank v. Salomon Bros., 813 F. Supp. 1340, 1343 (N.D. Ill. 1992). Plaintiffs

subsequently filed an Amended Complaint, to which Salomon asserted a counterclaim alleging

that if Salomon is liable for any breaches of duty then Ameritech Corporation is also liable and

must contribute to any damages awarded.

        Ameritech Corporation sought dismissal of the counterclaim, in part, by arguing that it

was protected by section 1105(d)(1)’s safe harbor provision even though it was not a named

trustee. The District Court agreed that Ameritech Corporation was able to avail itself of the


3
 Salomon is alleged to have breached its ERISA fiduciary duties while acting as a “broker-dealer and investment
advisor” to the Trust. Harris Trust & Sav. Bank v. Salomon Bros., 813 F. Supp. 1340, 1342 (N.D. Ill. 1992).
Neither the Committee with authority to appoint an investment manager, or the investment manager was a named
party in the Harris Trust case.
                                                      18
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 19 of 33




protection afforded by section 1105(d)(1) because it either fell within the definition of a

“trustee,” and in the alternative, even if it did not meet the definition of a trustee it was still

protected from liability from the acts and omission of an appointed investment manager. Harris

Trust, 832 F. Supp. at 1177–78.

       The District Court relied on section 1103(a)’s language that a “trustee” is granted

“exclusive authority and discretion to manage and control the assets of the plan” except when

such authority “has been delegated” to an investment manager. Harris Trust, 832 F. Supp. at

1177 (citing 29 U.SC. § 1103(a)).       The District Court reasoned that “[b]ecause the plan

instrument named Ameritech as a fiduciary, and because Ameritech had control over the trust

except to the extent that an investment manager was appointed, Ameritech falls within the

definition of a ‘trustee.’” Id. The District Court’s unstated premise that allowed it to conclude

that Ameritech Corporation fell within the definition of a “trustee,” is that the term “trustee” in

Section 1103(a) encompasses named fiduciaries who are not named trustees so long as such

fiduciaries have control of the assets except when an investment manager has been appointed.

       In Harris Trust, the District Court concluded in the alternative that even if Ameritech

Corporation does not fall within the definition of a trustee it still is afforded protection from

liability under section 1105(d)(1). The Harris Trust Court relied on the legislative history of

ERISA, citing a “‘Joint Explanatory Statement of the Committee of Conference,’ [in which]

Congress explained that ‘as long as the named fiduciary had chosen and retained the investment

manager prudentially, the named fiduciary would not be liable for the acts or omissions of the

manager.’” Harris Trust, 832 F. Supp. at 1178 (quoting H.R.Conf.Rep. No. 1280, 93rd Cong., 2d

Sess. (1974), reprinted in 1974 U.S.C.C.A.N. 4639, 5038, 5082).


                                                19
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 20 of 33




        Relying on regulations the District Court also noted that the DOL “stated that named

fiduciaries can delegate managerial authority over plan assets to an investment manager, thereby

releasing the named fiduciary from liability for the acts or omissions of the person to whom

authority was delegated.” Harris Trust, 832 F. Supp. at 1178 (citing 29 C.F.R. § 2509.75-8, FR-

14 “Questions and answers relating to fiduciary responsibility under the Employee Retirement

Income Security Act of 1974”)4. Finally, the Harris Trust Court relied on the Lowen Court’s

holding that “‘obligations of named fiduciaries with regard to their duty of care ... can be reduced

by the appointment of an investment manager under ERISA section 402(c)(3).’” Harris Trust,

832 F. Supp. at 1178 (quoting Lowen, 829 F.2d at 1219).

          The Court has found an additional case supporting the view that the safe harbor applies

to named fiduciaries with control over a plan’s assets who subsequently appoint an investment

manager. Harley v. Minnesota Mining & Mfg. Co., 42 F. Supp. 2d 898 (D. Minn. 1999), aff'd

sub nom. Harley v. Minnesota Min. & Mfg. Co., 284 F.3d 901 (8th Cir. 2002). In Harley, the

fiduciary of the plan responsible for overseeing investment of the plan’s assets delegated that

responsibility to a Pension Asset Committee, who delegated the management of the assets to an

4
 As discussed in the body of the Opinion, the Harris Trust Court’s reliance on FR-14 is misplaced as FR-14 does
not refer to 29 U.S.C. § 1105(d)(1). The relevant question and answer from the Code of Regulation is as follows:

        FR–14 Q: If the named fiduciaries of an employee benefit plan designate a person who is not a
        named fiduciary to carry out fiduciary responsibilities, to what extent will the named fiduciaries be
        relieved of liability for the acts and omissions of such person in the performance of his duties?

        A: If the instrument under which the plan is maintained provides for a procedure under which a
        named fiduciary may designate persons who are not named fiduciaries to carry out fiduciary
        responsibilities, named fiduciaries of the plan will not be liable for acts and omissions of a person
        who is not a named fiduciary in carrying out the fiduciary responsibilities which such person has
        been designated to carry out, except as provided in section 405(a) of the Act, relating to the
        general rules of co-fiduciary liability, and section 405(c)(2)(A) of the Act, relating in relevant part
        to the designation of persons to carry out fiduciary responsibilities. . . .

29 C.F.R. § 2509.75-8

                                                         20
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 21 of 33




investment manager. Harley, 42 F. Supp. 2d at 901, 908. The District Court acknowledged that

even with the appointment of an investment manager the fiduciary “still had an obligation to

supervise and monitor” the investments. Id. at 908. In a footnote the District Court, citing

Harris Trust, noted that “[b]ecause [the fiduciary] delegated to [an investment] manager[] the

fiduciary duty to administer the Plan’s assets according to agreed upon terms relating to that

investment, [the fiduciary] is not subject to liability for acts or omissions of the managers that

contravene those terms.” Id. at 908 n. 13. Again, the District Court, reiterated that this does not

relieve the fiduciary from oversight responsibilities, or its duty to monitor the investment over

time. Id.

       Finally, in Whitfield v. Cohen, the District Court stated that “ERISA permits trustees of a

plan to appoint an investment manager to manage plan assets,” and “[w]here such an

appointment has been properly made, the trustees are not liable for the acts or omissions of the

investment manager.” Whitfield v. Cohen, 682 F. Supp. 188, 196 (S.D.N.Y. 1988) (citing 29

U.S.C. §§ 1102(c)(3) and 1105(d)(1)). The District Court’s statements elide the distinction

between a “named fiduciary” with appointing authority and a “trustee,” as there is no ERISA

statute stating that a “trustee” may appoint an investment manager. In Whitfield, the distinction

between these terms was not important since the defendant-fiduciary was a “trustee” and “named

fiduciary.” Moreover, the Whitfield Court would not permit the defendant the safe harbor of

section 1105(d) because the appointment of the investment manager had not been properly made.

Id. In any event, the analysis of the statutes and discussion of the case law persuade the Court

that under circumstances when an investment manager is properly appointed by a person with

control over the assets of a plan the terms “trustee” and “named fiduciary” are interchangeable.


                                                21
         Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 22 of 33




                       c. Legislative History and DOL Fiduciary Responsibility Q & A’s

        The Harris Trust case cites legislative history as well as the DOL’s “questions and

answers relating to certain aspects of fiduciary responsibility” published in the Code of

Regulations to support its conclusion that section 1105(d)(1) applies even if the fiduciary seeking

the safe harbor is not a trustee. Harris Trust, 832 F.Supp. at 1178. The Court agrees that the

legislative history supports the Harris Trust Court’s conclusion; however, the regulatory source

cited by the Harris Trust Court is misplaced; as such it merely provides instructive clarification

regarding section 1105.

        The Harris Trust Court supported its conclusion in part by explaining that in question and

answer FR-145 the DOL “stated that named fiduciaries can delegate managerial authority over

plan assets to an investment manager, thereby releasing the named fiduciary from liability for the

acts or omissions of the person to whom authority was delegated.” Harris Trust, 832 F. Supp. at

1178 (citing 29 C.F.R. § 2509.75-8, FR-14 “Questions and answers relating to fiduciary

responsibility under the Employee Retirement Income Security Act of 1974”). However, FR-14

does not concern circumstances where an investment manager has been appointed, nor does it

address the safe harbor provision of section 1105(d)(1).         The “index of the questions and

answers” contains a table showing that FR-14 is addressing fiduciary responsibility under

sections 1105(a) and 1105(c)(2). 29 C.F.R. § 2509.75-8.

        Section 1105(a) is the primary subsection addressing the circumstances of co-fiduciary

liability.   29 U.S.C. § 1105(a).       Section 1105(c)(1) circumscribes the type of fiduciary

responsibilities, “other than trustee responsibilities,” that a named fiduciary may allocate

5
   According to the Code of Federal Regulations “Key to question prefixes,” “FR -- refers to fiduciary
responsibility,” and “D – refers to definitions.” 29 C.F.R. § 2509.75-8.

                                                 22
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 23 of 33




“among named fiduciaries” or to “persons other than named fiduciaries.”              29 U.S.C. §§

1105(c)(1)(A) & (B) (emphasis added). Section 1105(c)(2) is essentially the “safe harbor”

provision for named fiduciaries who allocate such fiduciary responsibilities to co-fiduciaries, not

investment managers. 29 U.S.C. § 1105(c)(2).

       Section 1105(c)(3) notes that the meaning of “trustee responsibility” under subsection

1105(c) does not include the “power under the trust instrument of a named fiduciary to appoint

an investment manager in accordance with section 1102(c)(3) of this title.”            29 U.S.C. §

1105(c)(3). While subsection 1105(c) is not a model of clarity, DOL question and answer FR-

15, which addresses subsections 1105(c)(2) and (c)(3), specifically clarifies the issue. The

question of FR 15 is:

       Q: May a named fiduciary delegate responsibility for management and control of
       plan assets to anyone other than a person who is an investment manager as
       defined in section 3(38) of the Act so as to be relieved of liability for the acts and
       omissions of the person to whom such responsibility is delegated?

29 C.F.R. § 2509.75-8, FR-15 (emphasis added). The DOL’s answer is clear:

       No. Section 405(c)(1) [concerning allocation of fiduciary responsibilities] does
       not allow named fiduciaries to delegate to others authority or discretion to
       manage or control plan assets.”

Id. (emphasis added). Clearly, that would include appointment of an investment manager

as FR-15 goes on to explain that a named fiduciary may delegate the authority to manage

or control plan assets to investment managers pursuant to sections 1103(a)(2) and

1102(c)(3). Id.

       While the regulatory questions and answers do not address the question of whether a

named fiduciary who appoints an investment manager is entitled to the safe harbor of section

1105(d)(1), the legislative history does. The Harris Trust Court relied on a truncated quote from

                                                23
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 24 of 33




the legislative history of ERISA, but the full context of the quote is even more persuasive

support for the conclusion reached in Harris Trust and by this Court:

       Investment managers, investment committees, etc. -- . . . a person who is a named
       fiduciary with respect to the control or management of plan assets may appoint a
       qualified investment manager to manage all or part of the plan assets. . . . In this
       case, the plan trustee would no longer have responsibility for managing the assets
       controlled by the qualified investment manager, and the trustee would not be
       liable for the acts or omissions of the investment manager. Also, as long as the
       named fiduciary had chosen and retained the investment manager prudentially,
       the named fiduciary would not be liable for the acts or omissions of the manager.

Id. First, the title of this section shows that it concerns investment managers. Second, it

begins by identifying the appointing authority vested in a “named fiduciary.” Next, it

points out that the “trustee” is relieved from liability when the named fiduciary appoints

an investment manager. Finally, it concludes, consistent with the case law, that the

named fiduciary who appointed the investment manager is also relieved from liability.

               d. Conclusion

        The Court concludes that Defendants are entitled to the safe harbor of section

1105(d)(1). Accordingly, Defendants cannot be held liable for the acts or omissions of Labow

and WPN during the time period Labow and WPN were investment managers. There is no

dispute that from December 5, 2008 through May 19, 2009, Labow and WPN were investment

managers and accordingly, we will grant Defendants’ motion to dismiss the DOL’s co-fiduciary

liability claims against Defendants for this time period.      As discussed above, the written

investment management agreement is effective as of November 1, 2008, and under section

1105(d)(1) Defendants were therefore not “under an obligation to invest” the assets of the plan.

Accordingly, the Court will grant Defendants’ motion to dismiss the DOL’s failure to invest

claim against Defendants.

                                                24
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 25 of 33




       B. Failure to Monitor Claim

       Finally, Defendants argue for dismissal of the DOL’s claim alleging that Defendants

failed to properly monitor the investments as managed by Labow and WPN in violation of

ERISA sections 404(a)(1)(A) and 404(a)(1)(B). The Court will deny the motion to dismiss

because the DOL has properly stated a claim of failure to monitor against Defendants.

       The power to appoint and dismiss an investment fiduciary “carries with it a duty ‘to

monitor appropriately’ those subject to removal.” Coyne & Delany Co. v. Selman, 98 F.3d 1457,

1465 (4th Cir. 1996) (quoting Ed Miniat, Inc. v. Globe Life Ins. Grp., Inc., 805 F.2d 732, 736

(7th Cir. 1986) and Leigh v. Engle, 727 F.2d 113, 135 (7th Cir. 1984)). An appointing authority

is not exposed to liability unless something “‘put [them] on notice of possible misadventure by

their appointees.’” Coyne, 98 F.3d at 1466 n.10 (quoting Newton v. Van Otterloo, 756 F.Supp.

1121, 1132 (N.D.Ind.1991). According to the Department of Labor’s regulatory questions and

answers, an appointing authority would be notified of a possible misadventure by

implementation of a regular monitoring procedure:

       Q: What are the ongoing responsibilities of a fiduciary who has appointed trustees
       or other fiduciaries with respect to these appointments?

       A: At reasonable intervals the performance of trustees and other fiduciaries
       should be reviewed by the appointing fiduciary in such manner as may be
       reasonably expected to ensure that their performance has been in compliance with
       the terms of the plan and statutory standards, and satisfies the needs of the plan.
       No single procedure will be appropriate in all cases; the procedure adopted may
       vary in accordance with the nature of the plan and other facts and circumstances
       relevant to the choice of the procedure.

29 C.F.R. § 2509.75-8, FR-17.

       The Department of Labor reiterated the basic requirements of the duty to monitor in an

amicus brief submitted in the United States Court for the Northern District of Oklahoma, and

                                               25
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 26 of 33




relied on by Defendants. In re: Williams Co. ERISA Lit., No. 02-153 (N.D. Ola. Aug 22, 2003)

(DOL Amicus Brief, attached as Ex. A to Def. Supp. Br.). The Department of Labor noted that

“in most cases, it will be enough that [appointing fiduciaries] adopt and adhere to routine

procedures sufficient to alert them to deficiencies in performance which could require corrective

action (e.g., the implementation of a system of regular reports on the investment fiduciaries

decisions and performance).” DOL Amicus Brief, at 5. In its amicus brief the Department of

Labor further explained that “appointing fiduciaries are not charged with directly overseeing the

investments [as that would be] duplicating the responsibilities of the investment fiduciaries”; that

appointing fiduciaries “are required to have procedures in place so that on an ongoing basis they

may review and evaluate whether the investment fiduciaries are doing an adequate job;” and the

procedures that are implemented allow the appointing fiduciary “under the applicable

circumstances, to assure themselves that” the investment fiduciaries “are properly discharging

their responsibilities.” DOL Amicus Brief, at 8-9.

       The time for review of monitoring procedures is measured under a standard of

reasonableness.   See 29 C.F.R. § 2509.75-8, FR-17 (noting that review is at “reasonable

intervals”). “A fiduciary must ascertain within a reasonable time whether an agent to whom he

has delegated a trust power is properly carrying out his responsibilities”. Whitfield, 682 F. Supp.

at 196 (citing G. Bogert, Trusts and Trustees, § 557 at 155 (Revised 2d Ed. 1980)). The

appointing fiduciary also has a “duty to monitor [the investment manager’s] performance with

reasonable diligence and to withdraw the investment if it became clear or should have become

clear that the investment was no longer proper for the Plan.” Whitfield, 682 F. Supp. at 196




                                                26
         Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 27 of 33




(citing Public Service Co. of Colorado v. Chase Manhattan Bank, 577 F.Supp. 92, 104 (S.D.N.Y.

1983).

         As can be seen from FR-17, the Department of Labor’s amicus brief, and the case law,

the minimum requirement is that the appointing fiduciary imposes a regular monitoring

procedure. The Department of Labor’s guidance to appointing authorities on the duty to monitor

requires, “under the applicable facts and circumstances,” the following:

        the appointing authority must adopt routine monitoring procedures;
        the appointing authority must adhere to the routine monitoring procedures;
        the appointing authority must review the results of the monitoring procedures;
        the monitoring procedures must alert the appointing authorities to possible deficiencies;
         and
        the appointing authority must act to take required corrective action.

29 C.F.R. § 2509.75-8, FR-17; DOL Amicus Brief, at 5, 8-9. Thus, an appointing authority that

has instituted proper monitoring procedures has the corresponding duty to review and evaluate

what is reported by the procedures and further, to take corrective action when required.

         Defendants’ argument for dismissal fails primarily because it mischaracterizes the DOL’s

allegations as requiring a de facto strict liability standard for the duty to monitor. See Def. Reply

Br. at 7-8 (DOL’s claim means that Defendants had to be “guarantor’s” of Labow’s conduct;

Defendants were required to watch “every single move of an investment manager;” Defendants

had “immediate and clear duty to second-guess Labow’s investment decisions”), and Def. Supp.

Br. at 2 (DOL’s claim requires Defendants to “terminate the investment managers at the first sign

of trouble,” and duty to monitor claim “improperly attempts to impute Labow’s conduct and

breaches” to Defendants). Defendants’ argument also raises the erroneous inference that an

appointing fiduciary cannot be found to have violated a duty to monitor so long as the appointing

                                                 27
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 28 of 33




fiduciary has implemented procedures that allow for regular reporting on the investment

fiduciaries. See Def. Supp. Br at 2 (“fiduciaries satisfy the duty by ensuring that procedures are

in place to monitor investment managers”); id. at 3 ( FR-17 “suggests that as long as appropriate

procedures are in place, fiduciaries satisfy the duty to monitor”); and id. at 4 (“if appropriate

procedures are in place, such as an outside auditor and annual review, the duty to monitor is

satisfied”). As discussed above, the duty to monitor requires that fiduciaries adopt a regular

monitoring procedure under the applicable facts and circumstances that is capable of alerting the

fiduciary of irregularities; that the fiduciary adhere to the monitoring procedure; and that the

fiduciary take corrective action when required. Moreover, if an appointing fiduciary is relieved

from liability simply by implementing monitoring procedures with regular reporting, even when

monitoring reveals a need for corrective action but the appointing fiduciary does not act, the duty

to monitor is reduced to a mere procedural implementation.

       Contrary to Defendants’ characterization of the failure to monitor claim, the DOL’s claim

“does not require the creation of a specific monitoring procedure, does not require fiduciaries to

duplicate the efforts of investment managers, and does not require constant oversight of every

decision.” Def. Supp. Br. at 4. The DOL alleges several specific time frames over which

Defendants monitoring process was deficient and how it was deficient; that Defendants failed to

take action to rectify an undiversified account; that it was Labow whose performance was

inadequate; and that Labow and WPN should have been removed. The DOL does not allege an

unsupported claim that because the value of the Plans’ asset’s declined Defendants must not have

properly monitored Labow and WPN. The DOL’s failure to monitor claim is supported with,

inter alia, the following factual allegations.


                                                 28
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 29 of 33




              Defendants failed to inquire into the status of the assets transferred on
               November 3, 2008 (Am. Compl. ¶ 18);
              From November 3, 2008, when the Neuberger Berman account was
               transferred the assets were undiversified and Defendants did not
               discover this until December 30, 2008 (Am. Compl. ¶¶ 21, 25);
              Regardless of the backdated investment agreement, the DOL alleges
               that Defendants’ failure to enter into a written agreement with a
               defined investment policy when the assets were transferred on
               November 3, 2008 contributes to their duty to monitor the investment
               manager (Am. Compl. ¶ 22);
              Once the undiversified account was discovered on December 30, 2008,
               Defendants did not act promptly to correct the failure to diversify
               through March 24, 2009 (Am. Compl. ¶ 26);
              Once the assets were converted to cash Defendants failed in their duty
               to monitor by not ensuring that Labow and WPN acted to prudently
               invest the assets through May 19, 2009 (Am. Compl. ¶ 29).

At this stage of the pleadings there is no record on which to evaluate the conduct of the

Defendants with respect to monitoring the investment managers from November 3, 2008 through

May 29, 2009. Further discovery is needed to establish exactly what efforts, if any, were made

by Defendants in furtherance of their fiduciary duties.       Accordingly, the Court will deny

Defendants’ motion to dismiss the DOL’s claim for failure to monitor.

       Defendants cite Howell v. Motorola, Inc., 633 F.3d 552, 572 (7th Cir. 2011), noting that

the Seventh Circuit Court opined that “plaintiffs’ argument that summary judgment was not

warranted on [the failure to monitor claim] borders on frivolous.” Howell, 633 F.3d at 573. The

Howell Court was criticizing plaintiffs’ argument that the duty to monitor essentially requires

“every appointing Board member to review all business decisions” of the investing fiduciary, a

requirement, the Court noted, that would defeat the purpose of the appointment in the first place.

Id. The Howell Court quoted plaintiffs’ “specific” argument: “that ‘appointing fiduciaries must

continually monitor their appointees.’” Id. at 574 (quoting but not citing plaintiff’s argument).

Despite Defendants’ characterization of the DOL’s arguments in the present case, the DOL

                                                29
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 30 of 33




simply does not allege that Defendants were required to “continually monitor” Labow and WPN.

       Contrary to what Defendants conclude from Howell, the Court’s opinion supports the

proposition that even if appropriate monitoring procedures are in place an appointing fiduciary

may be subject to liability. Howell, 633 F.3d at 573. The Howell Court stated that “[t]here is no

doubt that those who appoint plan administrations have an ongoing fiduciary duty under ERISA

to monitor the activities of their appointees.” Howell, 633 F.3d at 573 (citing Leigh, 727 F.2d at

134-35). The Court then quotes in full FR-17, and explains that the duty to monitor “exists so

that a plan administrator or sponsor cannot escape liability by passing the buck to another person

and then turning a blind eye.” Howell, 633 F.3d at 573. Moreover, the Howell plaintiffs’ failure

to monitor claim was dismissed not just because they oversimplified the duty to monitor in their

allegations, but also because they failed to produce any “evidence about how many reports were

produced” or “what resulted from annual reviews of the Committee by the directors.” Howell,

633 F.3d at 573. In other words, the Howell plaintiffs rested the entirety of their failure to

monitor claim explicitly on an argument -- with no supporting evidence -- that the duty to

monitor requires the appointing fiduciary “to review all business decisions,” or in plaintiffs’

words “to continually monitor” appointees. Id. If a plaintiff fails to produce such evidence, as

the Howell plaintiffs did, then summary judgment in favor of the appointing fiduciary may be

warranted. See Howell, 633 F.2d at 573 (case was at Circuit Court “after all parties have had a

chance to develop the record for purposes of summary judgment,” and plaintiffs failed to meet

their burden to show genuine issues of material fact existed).

       Other cases cited by Defendants also do not support their argument that the DOL has

failed to state a claim of failure to monitor. Defendants assert that the District Court for the


                                                30
        Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 31 of 33




Northern District of California found that plaintiffs failed to state a claim because the complaint

“did not specify an alleged defect in the monitoring system in place, and merely pleaded that the

parties sat idly by/failed to remove fiduciaries as the plans suffered losses.” Def. Supp. Br. at 6-

7 (citing White v. Chevron Corp., No. 16-CV-0793-PJH, 2016 WL 4502808 (N.D. Cal. Aug. 29,

2016). In fact the White Court dismissed the duty to monitor claim because it was derivative and

“wholly dependent on the breaches of duty alleged in the first through fourth causes of action,”

which the Court had already dismissed. White, 2016 WL 4502808, at *19. In addition, the Court

noted that plaintiffs had failed to allege “that the fiduciaries ignored . . . some other signal of a

problem requiring closer attention. . . .” White, 2016 WL 4502808, at *16. The Court’s

alternative reason for finding that plaintiffs failed to state a claim of duty to monitor was due to a

specific “lack of clarity” revealing that plaintiffs’ claim was based on pure supposition,

explained by the Court as follows:

       The allegation that Chevron Corporation had a duty to monitor its appointees “[t]o
       the extent that any of [Chevron's] fiduciary responsibilities were delegated to
       another fiduciary,” suggests that plaintiffs do not know whether Chevron
       Corporation in fact delegated its fiduciary duties or to whom. Moreover, the fifth
       cause of action does not specify which “appointees” or “other fiduciaries”
       Chevron Corporation failed to monitor.

White, 2016 WL 4502808, at *18 (emphasis added).

       Similarly, in In re Calpine Corp., the District Court for the Northern District of

California dismissed the failure to monitor claim as moot due to the the Court’s prior

dismissal of plaintiff’s direct claim of breach of fiduciary duty. In re Calpine Corp., No.

C-03-1685 SBA, 2005 WL 1431506, at *6 (N.D. Cal. Mar. 31, 2005). The Court also

cited FR-17 and noted that plaintiff did not allege facts to support a claim that defendants

had failed to periodically review the performance of the appointee. Id.

                                                 31
       Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 32 of 33




       Finally, the United States District Court for the District of Washington allowed

plaintiffs’ claim of failure to monitor for failing to provide appointees with necessary

information to proceed, but dismissed plaintiffs’ second claim of failure to monitor

because it fell short of the facial plausibility standard set forth in Ashcroft v. Iqbal, 556

U.S. 662 (2009). In re Washington Mut., Inc. Sec., Derivative & ERISA Litig., No. 2:08-

MD-1919 MJP, 2009 WL 3246994, at *10–11 (W.D. Wash. Oct. 5, 2009). The Court’s

dismissal of the second failure to monitor claim is distinguishable from the present case

as the claim was based on the meritless and unsupported argument that if assets declined

then there must have been a failure to monitor. Id. 2009 WL 3246994, at *10-11. The

Court explained plaintiff’s lack of supporting allegations in detail, concluding that “the

inference that all PIC and PAC members were necessarily under-supervised as a result of

the decline in WaMu’s stock price falls short of the facial plausibility standard articulated

in Iqbal.” Id. 2009 WL 3246994, at *11.

       The Court concludes that the DOL has properly stated a failure to monitor claim

and Defendants’ motion to dismiss the claim will be denied.

V.   Conclusion

       For the foregoing reasons the Court finds that the Third Amendment to the Severstal

Wheeling, Inc. Investment Management Agreement is effective as of November 1, 2008.

Accordingly, Defendants’ Motion to Dismiss (Docket No. 124) will be granted as to Plaintiff’s

failure to invest claim. Plaintiffs will be permitted leave to amend the Amended Complaint

consistent with this Opinion.




                                                 32
          Case 2:14-cv-01494-NBF Document 144 Filed 06/07/17 Page 33 of 33




          Defendants’ Motion to Dismiss (Docket No. 124) will be granted as to Plaintiff’s co-

fiduciary liability claim. Defendants’ Motion to Dismiss (Docket No. 124) will be denied as to

Plaintiff’s failure to monitor claim.   Defendants’ alternative Motion for Summary Judgment is

denied.

          An appropriate Order will be entered.



                                                       By the court:


                                                       s/Nora Barry Fischer
                                                       Nora Barry Fischer
                                                       United States District Judge

Dated: June 7, 2017




                                                  33
